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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on January 8, 2021

UNITED STATES OF AMERICA
v.

DEBORAH SANDOVAL
SALVADOR SANDOVAL JR.,

Defendants.

CRIMINAL NO.
MAGISTRATE NO.: 21-MJ-242

VIOLATIONS:

18 U.S.C. § 231(a)(3)

(Civil Disorder)

18 U.S.C. § 111(a)(1)

(Assaulting, Resisting, or Impeding
Certain Officers)

18 U.S.C. §§ 1512(c)(2), 2

(Obstruction of an Official Proceeding)
18 U.S.C. § 1752(a)(1)

(Entering and Remaining in a Restricted
Building or Grounds)

18 U.S.C. § 1752(a)(2)

(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds)

18 U.S.C. § 1752(a)(4)

(Engaging in Physical Violence in a
Restricted Building or Grounds)

40 U.S.C. § 5104(e)(2)(D)

(Disorderly Conduct in a Capitol Building)
40 U.S.C. § 5104(e)(2)(F)

(Act of Physical Violence in the Capitol
Grounds or Buildings)

40 U.S.C. § 5104(e)(2)(G)

(Parading, Demonstrating, or Picketing in
a Capitol Building)

INDICTMENT

The Grand Jury charges that:

COUNT ONE

On or about January 6, 2021, at approximately 3:25 PM, within the District of Columbia,

SALVADOR SANDOVAL JR., committed and attempted to commit an act to obstruct, impede, and

interfere with a law enforcement officer, that is, an officer from the Metropolitan Police Department,
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lawfully engaged in the lawful performance of his/her official duties incident to and during the
commission of a civil disorder, and the civil disorder obstructed, delayed, and adversely affected the
conduct and performance of a federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))

COUNT TWO

On or about January 6, 2021, at approximately 3:25 PM, within the District of Columbia,
SALVADOR SANDOVAL JR., did forcibly assault, resist, oppose, impede, intimidate, and interfere
with, an officer and employee of the United States, and of any branch of the United States Government
(including any member of the uniformed services), and any person assisting such an officer and
employee, that is, an officer from the Metropolitan Police Department, while such person was engaged
in and on account of the performance of official duties, and where the acts in violation of this section
involve physical contact with the victim and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
States Code, Section 11 1(a)(1))

COUNT THREE
On or about January 6, 2021, at approximately 3:25 PM, within the District of Columbia,
SALVADOR SANDOVAL JR., committed and attempted to commit an act to obstruct, impede, and
interfere with a law enforcement officer, that is, an officer from the Metropolitan Police Department,
lawfully engaged in the lawful performance of his/her official duties incident to and during the
commission of a civil disorder, and the civil disorder obstructed, delayed, and adversely affected the
conduct and performance of a federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 23 1(a)(3))
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COUNT FOUR

On or about January 6, 2021, at approximately 3:25 PM, within the District of Columbia,
SALVADOR SANDOVAL JR., did forcibly assault, resist, oppose, impede, intimidate, and interfere
with, an officer and employee of the United States, and of any branch of the United States Government
(including any member of the uniformed services), and any person assisting such an officer and
employee, that is, an officer from the Metropolitan Police Department, while such person was engaged
in and on account of the performance of official duties, and where the acts in violation of this section
involve physical contact with the victim and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United States
Code, Section 11 1(a)(1))

COUNT FIVE
On or about January 6, 2021, at approximately 3:27 PM, within the District of Columbia,
SALVADOR SANDOVAL JR., committed and attempted to commit an act to obstruct, impede, and
interfere with a law enforcement officer, that is, an officer from the Metropolitan Police Department,
lawfully engaged in. the lawful performance of his/her official duties incident to and during the
commission of a civil disorder, and the civil disorder obstructed, delayed, and adversely affected the
conduct and performance of a federally protected function.
(Civil Disorder, in violation of Title 18, United States Code, Section 23 1(a)(3))
COUNT SIX
On or about January 6, 2021, at approximately 3:27 PM, within the District of Columbia,
SALVADOR SANDOVAL JR., did forcibly assault, resist, oppose, impede, intimidate, and interfere
with, an officer and employee of the United States, and of any branch of the United States Government
(including any member of the uniformed services), and any person assisting such an officer and

employee, that is, an officer from the Metropolitan Police Department, while such person was engaged
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in and on account of the performance of official duties, and where the acts in violation of this section
involve physical contact with the victim and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United States
Code, Section 111(a)(1))

COUNT SEVEN
On or about January 6, 2021, within the District of Columbia and elsewhere, DEBORAH
SANDOVAL and SALVADOR SANDOVAL JR., attempted to, and did, corruptly obstruct,
influence, and impede an official proceeding, that is, a proceeding before Congress, by entering and
remaining in the United States Capitol without authority and committing an act of civil disorder and
engaging in disorderly and disruptive conduct.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title 18,
United States Code, Sections 1512(c)(2) and 2)

COUNT EIGHT
On or about January 6, 2021, within the District of Columbia, DEBORAH SANDOVAL and
SALVADOR SANDOVAL JR., did unlawfully and knowingly enter and remain in a restricted
building and grounds, that is, any posted, cordoned-off, and otherwise restricted area within the United
States Capitol and its grounds, where the Vice President and Vice President-elect were temporarily
visiting, without lawful authority to do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
United States Code, Section 1752(a)(1))

COUNT NINE
On or about January 6, 2021, within the District of Columbia, DEBORAH SANDOVAL and
SALVADOR SANDOVAL JR., did knowingly, and with intent to impede and disrupt the orderly
conduct of Government business and official functions, engage in disorderly and disruptive conduct in
and within such proximity to, a restricted building and grounds, that is, any posted, cordoned-off, and

otherwise restricted area within the United States Capitol and its grounds, where the Vice President
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and Vice President-elect were temporarily visiting, when and so that such conduct did in fact impede
and disrupt the orderly conduct of Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation of
Title 18, United States Code, Section 1752(a)(2))

COUNT TEN
On or about January 6, 2021, within the District of Columbia, SALVADOR SANDOVAL
JR., did knowingly, engage in any act of physical violence against any person and property in a
restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area within
the United States Capitol and its grounds, where the Vice President and Vice President-elect were
temporarily visiting.

(Engaging in Physical Violence in a Restricted Building or Grounds, in violation of Title
18, United States Code, Section 1752(a)(4))

COUNT ELEVEN
On or about January 6, 2021, within the District of Columbia, DEBORAH SANDOVAL and
SALVADOR SANDOVAL JR., willfully and knowingly engaged in disorderly and disruptive
conduct in any of the Capitol Buildings with the intent to impede, disrupt, and disturb the orderly
conduct of a session of Congress and either House of Congress, and the orderly conduct in that building
of a hearing before or any deliberation of, a committee of Congress or either House of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))

COUNT TWELVE
On or about January 6, 2021, within the District of Columbia, DEBORAH SANDOVAL and
SALVADOR SANDOVAL JR., willfully and knowingly paraded, demonstrated, and picketed in any
United States Capitol Building.

(Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
United States Code, Section 5104(e)(2)(G))
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COUNT THIRTEEN
On or about January 6, 2021, within the District of Columbia, SALVADOR SANDOVAL
JR., willfully and knowingly engaged in an act of physical violence within the United States Capitol
Grounds and any of the Capitol Buildings.

(Act of Physical Violence in the Capitol Grounds or Buildings, in violation of Title 40,
United States Code, Section 5104(e)(2)(F))

A TRUE BILL:

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Attorne¥’of the United‘States in
and for the District of Columbia.
